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   9   Telephone/Facsimile: 650.461.4433
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       Attorneys for Defendants and
  11   Counterclaim Plaintiffs INTERFOCUS
  12   INC. d.b.a. www.patpat.com

  13
                          UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
  15
  16
     NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
  17 INC., a California Corporation,
  18                                          JOINT APPLICATION TO
                  Plaintiff,                  CONTINUE STATUS
  19                                          CONFERENCE
  20        v.
                                              The Hon. Christina A. Snyder
  21 INTERFOCUS, INC. d.b.a.
  22 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  23 individual, and DOES 1-10, inclusive.,
  24
                  Defendants.
  25
  26
     INTERFOCUS, INC. d.b.a.
  27
     www.patpat.com, a Delaware
  28 Corporation; CAN WANG, an

                  JOINT APPLICATION TO CONTINUE STATUS CONFERENCE
Case 2:20-cv-11181-CAS-JPR Document 87 Filed 06/22/22 Page 2 of 3 Page ID #:1693




   1 individual, and DOES 1-10, inclusive,
   2
                   Counterclaim Plaintiffs,
   3
            v.
   4
   5 NEMAN BROTHERS & ASSOC.,
   6 INC., a California Corporation,
   7               Counterclaim Defendant.
   8
   9
  10 TO THIS HONORABLE COURT, AND ALL PARTIES HEREIN:
  11        Plaintiff Neman Brothers, Inc. and Defendant InterFocus, Inc., through their
  12 respective counsel, jointly request that this Court continue the Status Conference
  13 presently set for July 11, 2022, and the 60 day period of time this Court previously
  14 granted to conduct limited discovery only as to currently pending discovery requests
  15 including a deposition, to August 15, 2022 or such other date thereafter as is
  16 convenient to the Court. The parties respectfully request that continuance so that
  17 they may more fully explore the possibility of a settlement of this action. This
  18 request is not interposed for purposed of delay.
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                   JOINT APPLICATION TO CONTINUE STATUS CONFERENCE
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   1                                       RIMON, P.C.
   2 Dated: June 22, 2022
   3                                   By: /s/ Mark S. Lee
   4                                       Mark S. Lee
                                           Zheng Liu
   5
                                           Attorneys for Defendants and
   6                                       Counterclaim Plaintiffs
   7                                       INTERFOCUS, INC. d.b.a.
                                           www.patpat.com
   8                                       RIMON, P.C.
   9 Dated: June 22, 2022
  10
                                       By: /s/ Chan Yong Jeong
  11                                       Chan Yong Jeong
  12                                       Attorneys for Plaintiffs and Counterclaim
  13                                       Defendants NEMAN BROTHERS &
                                           ASSOC., INC.
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                  JOINT APPLICATION TO CONTINUE STATUS CONFERENCE
